Case 2:15-cr-00127-RFB   Document 106   Filed 12/23/15   Page 1 of 4
Case 2:15-cr-00127-RFB   Document 106   Filed 12/23/15   Page 2 of 4
Case 2:15-cr-00127-RFB   Document 106   Filed 12/23/15   Page 3 of 4
Case 2:15-cr-00127-RFB    Document 106   Filed 12/23/15   Page 4 of 4




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